Case 9:17-cv-81005-DMM Document 17-6 Entered on FLSD Docket 01/26/2018 Page 1 of 8




                                                         EXHIBIT "F"
Case 9:17-cv-81005-DMM Document 17-6 Entered on FLSD Docket 01/26/2018 Page 2 of 8
Case 9:17-cv-81005-DMM Document 17-6 Entered on FLSD Docket 01/26/2018 Page 3 of 8
Case 9:17-cv-81005-DMM Document 17-6 Entered on FLSD Docket 01/26/2018 Page 4 of 8
Case 9:17-cv-81005-DMM Document 17-6 Entered on FLSD Docket 01/26/2018 Page 5 of 8
Case 9:17-cv-81005-DMM Document 17-6 Entered on FLSD Docket 01/26/2018 Page 6 of 8
Case 9:17-cv-81005-DMM Document 17-6 Entered on FLSD Docket 01/26/2018 Page 7 of 8
Case 9:17-cv-81005-DMM Document 17-6 Entered on FLSD Docket 01/26/2018 Page 8 of 8
